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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Crisby Studio AB, et al.,                         No. CV-24-02165-PHX-SMB
10                  Plaintiffs,                        ORDER
11   v.
12   GoDaddy Incorporated, et al.,
13                  Defendants.
14
15            The Court having considered Plaintiffs Crisby Studio AB, and Niklas Thorin
16   (“Crisby” or “Plaintiff”) motion pursuant to Fed. R. Civ.P. 65 and Local Rule 65.1 for a

17   temporary restraining order (Doc. 2) and good cause appearing,
18            IT IS HEREBY ORDERED that Plaintiffs’ Motion is GRANTED.

19            IT IS FURTHER ORDERED Defendants GoDaddy, Inc., GoDaddy.com, LLC

20   and 123-Reg Limited (collectively “Defendants”), its officers, agents, directors, affiliates,
21   servants, employees, and all persons acting in concert with them, are hereby enjoined
22   from directly or indirectly causing the expiration of the calor.com domain name

23   (“Domain”) or allowing the Domain to revert to the registry to be generally available for

24   purchase by third parties.

25            IT IS FURTHER ORDERED that Defendants are enjoined from preventing or

26   frustrating Plaintiffs’ right, pursuant to the Domain Name Registration Agreement
27   pursuant to the Domain Name Registration Agreement with Defendants, to renew the
28   registration of the Domain.
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 1         IT IS FURTHER ORDERED that Defendants, their officers, agents, directors,
 2   affiliates, servants, employees, and all persons acting in concert with them are enjoined
 3   from selling, or otherwise transferring ownership, or allowing others to sell or transfer
 4   ownership interest in the Domain to any party, or purchasing or accepting ownership
 5   interest in the Domain; and
 6         IT IS FURTHER ORDERED that Defendants are ORDERED to show cause
 7   why a preliminary injunction should not issue, pursuant to Fed. R. Civ. P. 65, enjoining
 8   Defendants from directly or indirectly committing the above-described acts during the
 9   pendency of this action.
10         IT IS FURTHER ORDERED setting a telephonic hearing to schedule the
11   preliminary injunction hearing on September 4, 2024 at 10:30 a.m. (15 minutes
12   allowed).
13         IT IS FURTHER ORDERED this order will expire on September 6, 2024
14   unless extended by the Court.
15         Dated this 26th day of August, 2024.
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